                                                      U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York
                                                      The Jacob Javits Federal Building
                                                      26 Federal Plaza, 37th Floor
                                                      New York, New York 10278


                                                      May 5, 2025


BY ECF AND EMAIL

The Honorable Paul A. Engelmayer
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

       Re:     United States v. Daniel Hernandez 18 Cr. 834 (PAE)

Dear Judge Engelmayer:

       The parties write to provide the Court with an update regarding the above-captioned
defendant’s violation of supervised release (“VOSR”) specifications and to respectfully request an
adjournment of the May 22, 2025 VOSR hearing.

        Since our last appearance before this Court, the Government has collected from the United
States Probation Office, and provided to defense counsel, certain Rule 16 discovery materials
regarding the March 12, 2025 search of the defendant’s home, including, among other things, a
copy of the relevant search warrant and search warrant affidavit, photos and videos taken during
the execution of the search warrant, and a laboratory report regarding the controlled substances
seized from the defendant’s bedroom.

        Earlier today, the Government learned that it will take at least approximately six weeks
from tomorrow’s date (i.e., June 17, 2025) for the Palm Beach County Sherriff’s Department to
develop and compare results, if any, of DNA swabs taken from Hernandez’s person and from a
firearm recovered in Hernandez’s pool house (where a member of Hernandez’s family apparently
resided at the time of the search). Once these results are received by the Government, they will be
forwarded to defense counsel for review.

        In order to provide sufficient time for the parties to receive the above-described DNA
testing results and to consider whether those results warrant the filing of additional VOSR
specifications and/or how those results might affect a resolution of the current VOSR
specifications, and because the undersigned attorney is scheduled to be on annual leave from on
or about July 7 through July 18, 2025, the parties jointly and respectfully request that the Court
adjourn the currently-scheduled May 22, 2025 VOSR hearing until a date during or after the week
of July 21, 2025. To the extent the Court grants this request, the parties further propose to provide
an update, no later than seven days prior to the newly-scheduled date, indicating how the parties
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        plan to proceed, including whether the defendant will admit to some or all of the relevant VOSR
        specifications, or whether an evidentiary hearing is warranted.

                                                             Respectfully submitted,


                                                             JAY CLAYTON
                                                             United States Attorney for the
                                                             Southern District of New York


                                                       By:
                                                             Jonathan E. Rebold
                                                             Assistant United States Attorney
                                                             (212) 637-2512

        cc: Lance Lazzaro, Esq. (by ECF and email)
            Probation Officers Sandra Osman and Donn Grice (by email)




GRANTED. The Court adjourns the hearing until July 23, 2025, at 10:30 a.m. This conference will not be
further adjourned. As proposed in the parties’ letter, a joint letter is due one week before the hearing, stating
whether the hearing will entail a plea by Mr. Hernandez (and if so to what violation(s) and on what terms) or an
evidentiary hearing (and if so, outlining the evidence that will be presented).
                                                              5/6/2025
                                        SO ORDERED.

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                                                           PAUL A. ENGELMAYER
                                                           United States District Judge
